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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                Case No. 20-80762-Civ-Middlebrooks/Brannon


  NELSON FERNANDEZ,

          Plaintiff,

  v.

  O’REILLY AUTOMOTIVE STORES, INC.,

        Defendant.
  ______________________________________/

                   JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

          COME NOW the parties herein, Plaintiff, NELSON FERNANDEZ, and Defendant,

  O’REILLY AUTOMOTIVE STORES, INC., by and through their undersigned attorneys, and

  show the Court that the parties hereto have agreed to amicably settle the subject cause.

          WHEREFORE, the parties petition this Court for an Order dismissing this cause with

  prejudice. Each party shall bear its own costs and attorneys’ fees.


   Dated: _June 18, 2020___________                              Dated: __June 18, 2020___________


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